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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA


SUN WOOK PARK, JAE HONG LIM,
and
JAE YUN LIM

23 N Summit Street, Unit2
Tenafly, NJ. 07670                     Case No.:

Plaintiffs,
                                       COMPLAINT
      vs.
KIRSTJEN M. NIELSEN, Secretary
of Homeland Security
Washington, DC 20528

L. FRANCIS CISSNA, Director of the
United States Citizenship and
Immigration Services
20 Massachusetts Avenue, N.W.
Washington, DC 20529

GREGORY RICHARDSON, Director
of the USCIS’s Texas Service Center.
4141 N St Augustine Dr, Dallas, TX
75227

              Defendants.
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1                                       COMPLAINT
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                               DESCRIPTION OF ACTION
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           1. This complaint is brought by Sun Wook Park, Jae Hong Lim, and Jae Yun
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     Lim against the Defendants to compel a decision on their Applications for
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7    Adjustment of Status, which have been pending with the defendants for over 29
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     months
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                                      JURISDICTION
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           2. This being a civil action against the United States arising under the

13   Mandamus Act, 28 U.S.C. § 1361, and the Administrative Procedure Act, 5 U.S.C.
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     § 701 et seq., both laws of the United States, original jurisdiction over this matter
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     is vested in this Court by 28 U.S.C. § 1331.
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                               DESCRIPTION OF PARTIES
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           3. The plaintiffs are citizens and nationals of the Republic of Korea who are
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20   currently residing at 3 N Summit Street, Unit2 Tenafly, NJ 07670. Their “alien
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     numbers” are AXXXXXXXX, AXXXXXXXX, and AXXXXXXXX.
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           4. The defendant, KIRSTJEN M. NIELSEN, is the Secretary of Homeland
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24   Security, and as such has the authority to adjudicate Applications for Adjustment
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     of Status. She resides for official purposes in the District of Columbia.

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1           5. The defendant, L. FRANCIS CISSNA, is the Director of the United
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     States Citizenship and Immigration Services (USCIS), the agency within the
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     Department of Homeland Security which adjudicates Applications for Adjustment
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5    of Status. He resides for official purposes in the District of Columbia.
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           6. The defendant, GREGORY RICHARDSON, is the Director of the
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8    USCIS’s Texas Service Center where Sun Wook Park, Jae Hong Lim, and Jae Yun

9    Lim’s Applications for Adjustment of Status are currently pending, and has
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     immediate responsibility for their adjudication. He resides for official purposes in
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     the State of Texas.
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                     BRIEF STATEMENT OF RELEVANT FACTS
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            7. On October 26, 2016, Applications for Adjustment of Status were filed
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     upon Sun Wook Park, Jae Hong Lim, and Jae Yun Lim’s behalf with the United

19   States Citizenship and Immigration Services, and were assigned File Number
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     LIN1701750569, LIN1701750601, and LIN1701750589.
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           8. Ms. Park and her children, Jae Hong Lim and Jae Yun Lim, were
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23   interviewed by the USCIS on September 1, 2017. Since then, despite multiple

24   inquiries upon their behalf, no further action has been taken upon any of their
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     applications.

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           9. As of today, their Applications for Adjustment of Status remain under the
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     jurisdiction of GREGORY RICHARDSON and unadjudicated.
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7
                                         COUNT I
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           10. Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland Security,
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     Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and
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12   Immigration Services, and Defendant GREGORY RICHARDSON, Director of the
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     United States Citizenship and Immigration Services’ Texas Service Center, are
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     each and all officers or employees of the United States and the Department of
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     Homeland Security.

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           11. Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland Security,
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     Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and
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     Immigration Services, and Defendant GREGORY RICHARDSON, Director of the

21   United States Citizenship and Immigration Services’ Texas Service Center, each
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     and all owe a duty to the Plaintiffs, Sun Wook Park, Jae Hong Lim, and Jae Yun
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     Lim, to adjudicate their Applications for Adjustment of Status within a reasonable
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25   period of time. 5 U.S.C. § 555(b) ("With due regard for the convenience and


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1    necessity of the parties or their representatives and within a reasonable time, each
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     agency shall proceed to conclude a matter presented to it.").
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           12. According to the USCIS’s own website, current processing times for
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5    Forms I-485 at the Texas Service Center is 10 to 24 months.
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           13. Further, 8 U.S.C. § 1571(b) provides that: “It is the sense of Congress
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     that the processing of an immigration benefit application should be completed not
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     later than 180 days after the initial filing of the application, except that a petition

10   for a nonimmigrant visa under section 214(c) of the Immigration and Nationality
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     Act [8 USCS § 1184(c)] should be processed not later than 30 days after the filing
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     of the petition.”
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14         14. Accordingly, the over 29 months in which these Applications for

15   Adjustment of Status have been pending with Defendant KIRSTJEN M.
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     NIELSEN, Secretary of Homeland Security, Defendant L. FRANCIS CISSNA,
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     Director of the United States Citizenship and Immigration Services, and
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19   Defendant GREGORY RICHARDSON, Director of the United States Citizenship

20   and Immigration Services’ Texas Service Center, is well beyond that which these
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     officers or employees reasonably require to adjudicate it.
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23         15. This Court has authority under 28 U.S.C. § 1361 to compel KIRSTJEN

24   M. NIELSEN, L. FRANCIS CISSNA, GREGORY RICHARDSON to perform a
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     duty owed to the Plaintiffs.

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1          16. This Court also has authority under 5 U.S.C. § 706(1) to compel agency
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     action unlawfully withheld or unreasonably delayed.
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                                  RELIEF REQUESTED

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     WHEREFORE it is respectfully requested that the Court compel Defendants
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     KIRSTJEN M. NIELSEN, Secretary of Homeland Security, L. FRANCIS
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10   CISSNA, Director of the United States Citizenship and Immigration Services, and
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     GREGORY RICHARDSON, Director of the United States Citizenship and
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     Immigration Services’ Texas Service Center, to adjudicate Sun Wook Park, Jae
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     Hong Lim, and Jae Yun Lim’s Applications for Adjustment of Status forthwith,

15   and to take such other action as it deems appropriate.
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     Respectfully submitted,
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     Dated:04/03/2019
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                                               S/ Michael E. Piston
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